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                                                                                                      LJ
                      JN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA 2O8 OCT 8 AM 8:18

                                   AUGUSTA DIVISION
                                                                                             .JF- 1,..
UNITED STATES OF AMERICA                       )
                                               )
               V.                              )        CR 108-062
                                               )
CHRISTOPHER JO VON DAGGETT                     )


                                         ORDER

       Before the Court are the various pre-trial and discovery motions filed by Defendant

Christopher Jovon Daggett. The United States of America, by and through its attorney,

Edmund A. Booth, Jr., United States Attorney, and Patricia Green Johnson, Assistant United

States Attorney, has filed a combined response to these motions.

       Although Defendant did not file a specific Motion for Discovery, the government

states that it has provided "open file" discovery in this case. The government has provided

Defendant with discovery materials consisting of the investigative reports, scientific reports,

and other documents material to this case (attorney and agent work product excepted). All

known statements by Defendant have also been produced, as has his criminal record. In any

event, the Court finds that the position of the United States Attorney in permitting full

disclosure of the government's file pertaining to this case would render any such specific

motion for discovery MOOT.

       However, to ensure that there are no outstanding discovery requests, the Court hereby

requires counsel for Defendant to submit not later than five (5) days from the date of this

Order a written statement describing existing disputes or unresolved items, if any, that have
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not been specifically addressed elsewhere in this Order. The statement should detail the

specific items sought and should include a memorandum of law.

       Defense counsel is reminded that dissemination of discovery material beyond that

necessary to the preparation of the defense is prohibited by Loc. Crim. R. 16.1.

       Any discovery material turned over to Defendant shall be maintained by Defendant

and not further disseminated. Failure to comply with the terms of this Order may result in

contempt proceedings.

  MOTIONS FOR DISCLOSURE OF NAMES. ADDRESSESAND CRIMINAL
                   RECORDS OF WITNESSES

       Defendant filed motions requesting that the government be ordered to furnish the

names and addresses, as well as the criminal records, ofwitnesses. In non-capital cases such

as this case, a defendant is generally not entitled to a list of government witnesses. United

States v. Massell, 823 F.2d 1503, 1509 (11th Cir, 1987); United States v. Johnson, 713 F.2d

654, 659 (11th Cir. 1983); United States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981).

However, as a practical matter, it would appear that Defendant will be receiving much of this

information because of the government's liberal discovery policy and because of the

government's obligation to disclose material pursuant to the Jencks Act andlor Brady v.

Maryland, 373 U.S. 83 (1963). This, in essence, moots Defendant's requests for a witness

list. While this Court retains the right to exercise its discretion in permitting Defendant to

have access to a list of government witnesses, at most the government would be required to




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comply with these requests not more than ten (10) days prior to trial. Therefore, these

requests for a witness list are DENIED, (Doe. nos. 256-1, 257-1).

       The Court next turns to the requests for the disclosure of prior criminal conduct and

uncharged bad acts of witnesses. The Confrontation Clause guarantees criminal defendants

an opportunity to impeach through cross examination the testimony of witnesses for the

prosecution. United States v. Yates, 438 F.3d 1307, 1318 (1 lthCir. 2006) (en banc); United

States v. Lyons, 403 F.3d 1248, 1255-56 (11th Cir. 2005); United States v. Novaton, 271

F.3d 968, 997 (11th Cir. 2001); United States v. Baptista-Rodriguez, 17 F.3d 1354, 1370

(11th Cir. 1994). This right is not, however, unlimited. While Fed. R. Evid. 608(b) allows

cross examination of a witness as to specific instances of misconduct, the government does

not have a duty to investigate each witness. This Rule must also be construed to limit cross

examination to those acts of conduct "which are generally agreed to indicate a lack of

truthfulness." 4-608 Weinstein's Federal Evidence § 608.22. The types of acts which satisfy

this strict test are forgery, bribery, cheating, embezzlement, false pretenses, fraud and

perjury. Ij.. Moreover, the government has stated its willingness to provide, seven (7) days

prior to trial, rap sheets or criminal convictions of witnesses which the government learns

about and which could properly be used for impeachment under Fed. R. Evid. 609. (Doe.

no. 280, p. 2). Beyond the government's continuing duty to disclose under Brad y v.

Maryland, 373 U.S. 83(1963), and the parameters discussed herein, Defendant's requests

for disclosure of prior crimes of witnesses are DENTED. (Doe. nos. 256-2, 257-2).




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                       MOTION FOR DISCLOSURE OF
                 EXCULPATORY AND IMPEACHING MATERIAL

        Defendant filed a motion seeking the disclosure of exculpatory and impeaching

information in accordance with the principles of Brady v. Maryland, 373 U.S. 83 (1963) and

Giglio v. United States, 405 U.S. 150(1972). (Doe. no. 233). To some extent, Defendant's

request exceeds the scope of Brady. Brady material includes information that is favorable

to a defendant and material to the issues of guilt or punishment. Brad y, 373 U.S. at 87;

United States v. A gurs, 427 U.S. 97 (1976). This motion is GRANTED to the extent that

the government must provide all Brady material to Defendant within five (5) days ofthe date

it is received or its existence becomes known. With regard to impeaching information, the

government must disclose this information seven (7) days prior to trial.

                   MOTION FOR PRE-TPJAL JAM}S HEARING

       Defendant has moved for apre-trial hearing to determine the admissibility of out-of-

court statements by alleged co-conspirators. Defendant also seeks disclosure of co-

conspirator and co-defendant statements. United States v. James, 590 F.2d 575 (5th Cir.

1978) (en banc), requires that, before the case is submitted to the jury, the Court must

determine whether the prosecution "has shown by a preponderance of the evidence

independent of the statement itself (1) that a conspiracy existed, (2) that the co-conspirator

and defendant against whom the co-conspirator's statement is offered were members of the

conspiracy, and (3) that the statement was made during the course of and in furtherance of

the conspiracy." Id. at 582; United States v. Magluta, 418 F.3d 1166, 1177-78 (11th Cir.

2005) (same); see also Fed. R. Evid. 801(d)(2)(E).



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       A pre-trial determination under James is not required. United States v. Van

Hemeh'ck, 945 F.2d 1493, 1497-98 (11th Cir. 1991); United States v. D yer, 752 F.2d 591,

595 (11th Cir. 1985). The required fmding can be made at the close of the government's -

case-in-chief. United States v. Sanchez, 722 F.2d 1501, 1507 (11th Cir. 1984). Further, the

Court may examine the statements sought to be admitted when making the factual

determination. Bojaily v. United States, 483 U.S. 171, 180-81 (1987); United States v.

Miles, 290 F.3d 1341, 1351 (11th Cir. 2002) (per curiain).

       As the need for a James hearing is lessened in light of Bourjaily, and in the interest

ofjudicial economy, this determination will be made at trial. Therefore, the motion for apre-

trial James hearing is DENIED. (Doe. no. 252-1).

       As to the request for disclosure of co-defendant and co-conspirator statements, the

Court recognizes that the language of Fed. R. Crim. P. 1 6(a)(1)(A) requires disclosure of

"statements made by the defendant(s)," but the Court does not agree with the argument that

this provision mandates disclosure of co-conspirator statements, since those statements are

imputed to the respective Defendants in this case under Fed. R. Evid. 801(d)(2)(E).

Specifically, the Eleventh Circuit has ruled that these independent provisions cannot be read

in parE materia. United States v. Orr, 825 F.2d 1537, 1541 (11th Cir. 1987) (en banc)

(adopting the reasoning of United States v. Roberts, 811 F.2d 257, 258(4th Cir. 1987) (en

banc)). The policy underlying nondisclosure of co-conspirator statements rests firmly on the

belief that disclosure would unnecessarily promote both the intimidation of witnesses and

attempts to suborn perjury. Roberts, 811 F.2d at 259 (citing United States v. Jackson, 757

F.2d 1486, 1493 (4th Cir. 1985) (Wilkinson, J., concurring)). The Jackson concurrence
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correctlynoted that nothing in Fed. R. Crim. P. 16(a)(1)(A), can be read to require disclosure

of co-conspirator statements and that decisions relied on by the defendant justifying

discovery of such statements as "vicarious admissions" of defendants "make one person out

of two and beg the question of undue pressure which may result." Jackson, 757 F.2d at 1493.

Rule 16(a)(1)(A) requires the government to disclose "the substance of any relevant oral

statement made by the defendant." Any discovery of co-conspirator statements must be

pursuant to the provisions of the Jencks Act, 18 U.S.C. § 3500, or not at all. Roberts, 811

F.2d at 259. Therefore, Defendant's request for disclosure of co-conspirator statements is

DENIED.' (Doe. no. 252-2).

                 MOTION TO PRESERVE RECORD AS TO
            RACE AND GENDER OF EACH VENIREMAN AT TRIAL

       The Equal Protection clause forbids prosecutors from challenging potential jurors

solely on account of their race or gender. United States v. Martinez-Salazar, 528 U.S. 304,

315 (2000); Batson v. Kentucky , 476 U.S. 79, 89 (1986). As this requested information

would be necessary for an appeal under Batson, this motion is GRANTED. (Doe. no. 237).

     MOTION TO COMPEL DISCLOSURE OF PROMISES OF IMMUNITY

       Defendant has moved to have the government provide him with any promises of

immunity, leniency or preferential treatment made by the government to any prosecution

witness, informant or cooperating defendant, including copies of applicable indictments and




       'The brief in support of Defendant's motion for apre-trial hearing and disclosure of
co-conspirator statements was mistakenly docketed as a separate motion. ($ doe. no. 255).
The CLERK is DIRECTED to terminate that entry from the pending motions report.
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plea agreements. The government has agreed to provide this material to the defense (doc.

no. 280, P. 2), thereby making this motion MOOT.2 (Doc. no. 242).

      MOTION FOR EARLY DISCLOSURL OF JENCKS ACT MATERIAL

        The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant

with statements of witnesses immediately following their testimony in court. There is no

authority for the Court to grant an early release or disclosure of that material. United States

V. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,


1251 & n.78 (11th Cir. 2003); United States v. Jirnenez, 613 F.2d 1373, 1378 (5th Cir.

1980). However, early disclosure of Jencks Act materials will avoid unnecessary delay and

inconvenience to the Court and july. The government does not oppose the motion. The

government also states that it is willing to provide Jeneks Act materials, including grand jury

transcripts, one week prior to trial. (Doe. no. 280, p. 2). The government is INSTRUCTED

to provide Jencks Act materials seven (7) days prior to trial to provide defense counsel a

meaningful opportunity to assess these statements. (Doe. no. 258).

       SO ORDERED this            lay of October, 2008, at Augusta, Georgia.




                                       W. LEON 1ARFIELDf)
                                       UNITED SATES M1kOISTRATE JUDGE




        2 The brief in support of Defendant's motion to disclose promises of immunity was
mistakenly docketed as a separate motion. ( doe. no. 249). The CLERK is DIRECTED
to terminate that entry from the pending motions report.

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